           Case 1:22-cr-00007-LKG Document 19 Filed 02/23/22 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )
 v.                                              )
                                                 )        Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                               )
                                                 )        Dated: February 23, 2022
         Defendant.                              )
                                                 )

                                      SCHEDULING ORDER
        On February 23, 2022, the parties participated in an initial scheduling conference in the
above-captioned criminal matter. The Court, with the assistance of the parties, enters the following
schedule for pre-trial proceedings and trial:

      Consolidated response to defendant’s motion
      to dismiss; defendant’s motion for a bill of
      particulars; and defendant’s motion to
      disqualify counsel.                                       March 11, 2022

      Consolidated reply in support of defendant’s
      motion to dismiss; defendant’s motion for a
      bill of particulars; and defendant’s motion to
      disqualify counsel.                                       March 25, 2022

      Any motion(s) in limine; proposed voir dire;
      proposed jury instructions; and a proposed jury
      verdict form. In preparing proposed voir dire,
      proposed jury instructions, and a proposed jury
      verdict form, counsel shall meet and confer
      and, to the fullest extent possible, make a joint
      submission. Counsel shall identify any matters
      of disagreement through supplemental filings.             April 4, 2022


      Hearing on pre-trial motions and first pre-trial
      status conference.                                        April 14, 2022, at 2 p.m., in
                                                                Courtroom 5C of the Edward A.
                                                                Garmatz Building, 101 West
                                                                Lombard     Street,  Baltimore,
                                                                Maryland 21201.
          Case 1:22-cr-00007-LKG Document 19 Filed 02/23/22 Page 2 of 2




     Response(s) to motion(s) in limine.                       April 18, 2022

     Final pre-trial status conference and hearing on
     motion(s) in limine.                                      April 27, 2022, at 2 p.m., in
                                                               Courtroom 5C of the Edward A.
                                                               Garmatz Building, 101 West
                                                               Lombard     Street,  Baltimore,
                                                               Maryland 21201.

     Jury trial.                                               May 2, 2022, at 9:30 a.m., in
                                                               Courtroom 5C of the Edward A.
                                                               Garmatz Building, 101 West
                                                               Lombard     Street,  Baltimore,
                                                               Maryland 21201.

        The Court will not modify the pre-trial schedule absent good cause shown. And so, if any
party wishes to modify the pre-trial schedule, that party shall FILE a motion with the Court
explaining the basis for any requested modification.

        In addition, the Court strongly encourages the Government to produce any Jencks
material no later than two weeks before trial is scheduled to commence. The government is
DIRECTED to monitor the speedy trial date and to FILE any motions to exclude time from
speedy trial computations, as necessary.

        IT IS SO ORDERED.



                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   United States District Judge




                                                                                                   2
